                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


LUMINOR CONSULTING CORP.;                               )
DLC ELITE LENDING CORPORATION;                          )
HEARD CONCRETE CONSTRUCTION                             )
CORP.; THOMAS DAVIS; and                                )
KEVIN HARRISON,                                         )
                                                        )
         Plaintiffs,                                    )
                                                        )
v.                                                      )       Civil Action No.
                                                        )
DR. ADEL ELMESSIRY and                                  )
WEBDBTECH, INC.,                                        )
                                                        )
         Defendants.                                    )


                                             COMPLAINT

         NOW COME the Plaintiffs, Luminor Consulting Corp. (“Luminor”), DLC Elite Lending

Corporation (“DLC”), Heard Concrete Construction Corp. (“Heard”), Thomas Davis (“Davis”)

and Kevin Harrison (“Harrison”) (collectively, the “Plaintiffs”), by counsel, for their Complaint

against Defendants, Dr. Adel Elmessiry (“Elmessiry”) and WebDBTech, Inc. (the “Company”)

(collectively, the “Defendants”), and hereby states as follows:

                                              The Parties

         1.        Luminor is a Canadian corporation with its principal place of business located at

708-333 11th Avenue, Vancouver, British Columbia, Canada V5T 0H1.

         2.        DLC is a Canadian corporation with its principal place of business located at Unit

A201-9000 Bill Fox Way, Burnaby, British Columbia, Canada V5J 5J3.

         3.        Heard is a Virginia corporation with its principal place of business located at 201

A Dexter Street West, Ste. 100, Chesapeake, Virginia 23324.


4859-0301-7257.1
                                   Page 1 of 13
       Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 1 of 13 PageID #: 1
         4.        Davis is an individual who is domiciled in Spain.

         5.        Harrison is an individual who is domiciled in Virginia.

         6.        Elmessiry is an individual domiciled in Tennessee who may be served with process

at 9370 Bournsmouth Ct., Brentwood, Tennessee 37027.

         7.        The Company is a Delaware corporation with its principal place of business located

at 9370 Bournsmouth Ct., Brentwood, Tennessee 37027. The Company may be served with

process by serving its registered agent, Harvard Business Services, Inc., at 16192 Coastal

Highway, Lewes, Delaware 19958.

                                      Subject Matter Jurisdiction

         8.        This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because there is

complete diversity and the amount in controversy, excluding interest and costs, exceeds $75,000.

                                         Personal Jurisdiction

         9.        This Court has personal jurisdiction over the Defendants because, among other

reasons, Elmessiry is a resident of Tennessee transacting business in Tennessee and the Company

has its principal place of business in Tennessee.

                                                 Venue

         10.       Venue is proper in this Court because, among other reasons, it is a permissible

venue under 28 U.S.C. § 1391 as a district in which Elmessiry resides and in which the Company

is subject to the Court’s personal jurisdiction.

                                          Statement of Facts

         11.       On or about July 1, 2021, Elmessiry entered into a de facto or general partnership

with the Plaintiffs (the “Partnership”) for the purpose of undertaking to develop software for an

innovative, renewable energy-based cryptocurrency protocol called Renewable Obligation Base

Energy Economy (or “ROBe2 Protocol”).
4859-0301-7257.1
                                   Page 2 of 13
       Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 2 of 13 PageID #: 2
         12.       At this same time, the Plaintiffs and Elmessiry entered into an oral contract

regarding the Partnership. The Plaintiffs agreed to provide funding for the development of the

ROBe2 Protocol as well as assist with various other tasks related to legal issues and company

structure, financial development, engineering, and other administrative tasks. Elmessiry agreed to

also provide funding in the amount of $800,000, develop the software (data access object or DAO,

smart contracts, tokens/NFTs, etc.) for the ROBe2 Protocol, create marketing materials and a

website, and otherwise assist in day-to-day operations.

         13.       In total, the Plaintiffs contributed $698,647 toward the Partnership and the

development of the ROBe2 Protocol as follows:

                       Party                       Amount                        Date

           Luminor                      $100,000                    6/17/2021

           Luminor                      $66,667                     9/2/2021

           Heard                        $44,333.33                  9/8/2021

           Davis                        $44,333.33                  9/8/2021

           Harrison                     $44,333.33                  9/8/2021

           DLC                          $132,990                    9/13/2021

           Heard                        $44,333.33                  10/27/2021

           Davis                        $44,333.33                  10/27/2021

           Harrison                     $44,333.33                  10/27/2021

           DLC                          $132,990                    11/5/2021



(the “Funds”). The Funds were wired by the Plaintiffs to an account held by the Company, which

was owned by Elmessiry, to be held temporarily pending the incorporation of an entity for the

Partnership.
4859-0301-7257.1
                                   Page 3 of 13
       Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 3 of 13 PageID #: 3
         14.       Once the Partnership entity was formed, the remaining Funds plus Elmessiry’s

$800,000 contribution were to be wired to an account created for the Partnership.

         15.       As a part of their verbal agreement, the Plaintiffs and Defendant agreed that the

parties would not be paid any compensation for their work on the Partnership’s ROBe2 Protocol.

Instead, the Plaintiffs and Elmessiry agreed to contribute money and time to develop the ROBe2

Protocol and, in exchange, they would each receive a designated portion of NFT tokens after the

ROBe2 Protocol was completed.

         16.       Elmessiry was not an employee of the Partnership or any individual Plaintiff.

         17.       The Plaintiffs paid their contributions to the Partnership, but Elmessiry never made

his financial contribution. Elmessiry’s contribution was to be made in tranches, and Elmessiry

lead the Plaintiffs to believe that he had been timely paying his share of the tranches into the

Company’s bank account and/or to developers that had been hired to work on the ROBe2 Protocol.

However, these representations were false. Elmessiry had not made any portion of his $800,000

contribution to the Partnership for the ROBe2 Protocol.

         18.       In a document signed November 8, 2021, the Universal Peace and Sustainability,

LLC (“UPS”), an entity affiliated with the United Nations, entered into a Memorandum of

Understanding with Global Renewable Energy Network, LTD (“GREN”), an entity affiliated with

the Partnership, to confirm an investment by UPS of $25 million, through a “Partner NFT,” into

the ROBe2 Protocol’s research and development.

         19.       Under this Memorandum of Understanding, GREN was required to provide

material on the ROBe2 Protocol and work with UPS to utilize the ROBe2 Protocol to promote the

use of renewable energy.

         20.       The first phase of the development period for the ROBe2 Protocol began on July 1,

2021 and was set to end November 30, 2021.
4859-0301-7257.1
                                   Page 4 of 13
       Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 4 of 13 PageID #: 4
         21.       During the first phase of the development period, Elmessiry began asking for

additional money and/or compensation from the Plaintiffs, yet there was no tangible progress being

provided to the Plaintiffs and the parties had previously agreed not to receive compensation.

Further, the sums requested by Elmessiry seemed outlandish for the kind of work that needed to

be done.

         22.       The Plaintiffs continuously requested invoices for the developers Elmessiry was

using, plus a report showing proof of the tangible progress made by Elmessiry, but Elmessiry failed

to provide either of them to the Plaintiffs.

         23.       Meanwhile, because the Plaintiffs believed Elmessiry was meeting his obligations

with the ROBe2 Protocol, both financially and executing on the development, the Plaintiffs and

Elmessiry were also working on making the Company a public company. This required audited

financial statements of the Company. Around September of 2021, Elmessiry reached out to the

Plaintiffs for assistance in completing this audit, which included hiring a CPA to bring the financial

records up to date. During this process, Elmessiry provided all the bank statements of the Company

to Plaintiffs.

         24.       During November of 2021, the Plaintiffs discovered that Elmessiry and/or the

Company had, without authorization, wired most of the Funds from the Company’s account to

unknown individuals as well as Elmessiry’s personal bank account.

         25.       Elmessiry has refused to provide supporting documentation showing how all of the

Funds were used.

         26.       However, upon information and belief, nearly all of the Funds were used for

Elmessiry’s personal benefit, including renovating Elmessiry’s house in Egypt. This was not

proper because, among other reasons, Elmessiry was not entitled to compensation for his work on

the ROBe2 Protocol, and the Plaintiffs did not authorize these expenditures.
4859-0301-7257.1
                                   Page 5 of 13
       Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 5 of 13 PageID #: 5
         27.       Elmessiry purportedly used approximately $20,000 of the Funds to create a website

for the ROBe2 Protocol. However, this use of the Funds, plus all other use of the Funds, by

Elmessiry were done without prior authorization from the Plaintiffs.

         28.       To this day, Elmessiry has kept (along with the converted Funds) all of the NFT

tokens, provisional patents, and marketing materials for himself and refused to give the operational

keys and access codes for the ROBe2 Protocol and the affiliated website to any of the Plaintiffs.

         29.       Additionally, because of Elmessiry’s actions, GREN was unable to move forward

with the Memorandum of Understanding with UPS and create a partnership agreement by the

designated deadline of December 1, 2021.

         30.       An Extended Memorandum of Understanding was entered into on or about

December 1, 2021, which expanded the scope of the parties’ business relationship by more clearly

identifying each parties’ roles, rights, and responsibilities. It outlined how the development of the

ROBe2 Protocol would be used to support and expand renewable energy production throughout

the world and identified the intent for it to be the cryptocurrency used by the United Nations. This

relationship was material to the development of the ROBe2 Protocol.

         31.       In the Extended Memorandum of Understanding, the parties also agreed to extend

the deadline for creating their partnership agreement to January 30, 2022, for the purpose of

gathering and providing the materials required for due diligence.

         32.       From December 1, 2021 to January 30, 2022, the Plaintiffs requested all of the work

performed/products created by Elmessiry, to date, on the ROBe2 Protocol so that they could

complete the due diligence required under the Extended Memorandum of Understanding.

However, Elmessiry never provided them with any tangible work performed on the ROBe2

Protocol.



4859-0301-7257.1
                                   Page 6 of 13
       Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 6 of 13 PageID #: 6
         33.       Because of Elmessiry’s actions, including his refusal to turn over Partnership

property related to the ROBe2 Protocol, such as operational keys and access codes, the

development of the ROBe2 Protocol has been stalled and, thus, the partnership agreement with

UPS was not able to move forward.

         34.       This loss of a $25,000,000 USD funding opportunity has had a detrimental impact

on the Partnership and the development of its ROBe2 Protocol.

                                           COUNT I
                                  BREACH OF ORAL CONTRACT
                                        (as to Elmessiry)

         35.       The Plaintiffs repeat and reallege each and every allegation above as if fully set

forth herein.

         36.       The Plaintiffs and Elmessiry entered into an oral contract on or around July 1, 2021

to form a Partnership for the purpose of developing the ROBe2 Protocol.

         37.       The oral contract required Elmessiry to provide software development services for

the ROBe2 Protocol and assist with other tasks, without compensation, as well as to contribute

$800,000 to the Partnership.

         38.       The Plaintiffs wired the Funds to the Company for temporary holding on behalf of

the Partnership and to be used, with authorization, for Partnership purposes.

         39.       Elmessiry, instead of using the Partnership Funds for Partnership purposes, used

the Funds for improper and unapproved purposes.

         40.       Elmessiry transferred the Funds to unknown individuals and his own personal bank

account for his personal benefit and without authorization. To the extent Elmessiry claims this

was compensation for his work on the ROBe2 Protocol, this is not proper because the parties

specifically agreed that they would not receive compensation other than in the form of NFTs after

the ROBe2 Protocol was completed.

4859-0301-7257.1
                                   Page 7 of 13
       Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 7 of 13 PageID #: 7
         41.       In addition, Elmessiry never provided his $800,000 contribution to the Partnership,

as required by the parties’ oral agreement.

         42.       Finally, Elmessiry refuses to provide the Plaintiffs with access to Partnership

property, including but not limited to, any operational keys and access codes for the ROBe2

Protocol and the affiliated website.

         43.       Elmessiry breached the oral contract by: 1.) using the Funds for improper and

unauthorized purposes that were not related to the development of the ROBe2 Protocol or any

other approved Partnership purposes; 2.) failing to contribute his $800,000 share of the funding

for the Partnership; 3.) failing to complete software development for the ROBe2 Protocol and other

tasks assigned to Elmessiry; and 4.) by refusing to return Partnership property created for the

Partnership pursuant to the oral contract, including any operational keys and access codes for the

ROBe2 Protocol and affiliated website, among other things.

         44.       As a result of Elmessiry’s breach, the Plaintiffs and the Partnership have suffered

injuries in the amount of: 1.) Elmessiry’s unpaid $800,000 contribution to the Partnership; 2.) the

amount of the Funds that were used improperly and without authorization by Elmessiry; and 3.)

the value of the products created by Elmessiry pursuant to the oral contract that he refuses to give

to the Plaintiffs.

         WHEREFORE, the Plaintiffs hereby move this Honorable Court for the following relief:

         A.        That the Court award to the Plaintiffs direct damages against Elmessiry in the

                   amount of $1,500,000 or such other amount as proven at trial; and

         B.        Such other and further relief as this Court determines is just and reasonable.




4859-0301-7257.1
                                   Page 8 of 13
       Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 8 of 13 PageID #: 8
                                              COUNT II
                                           CONVERSION
                                  (as to Elmessiry and the Company)

         45.       The Plaintiffs repeat and reallege each and every allegation above as if fully set

forth herein.

         46.       The Defendants were entrusted to use and hold the Funds in the Company’s bank

account, temporarily, for the benefit of the Partnership until a partnership entity was created.

         47.       Upon information and belief, Elmessiry is the sole director and shareholder of the

Company.

         48.       The Plaintiffs collectively wired the Funds, a determinative sum of $698,647, to

the Company for the exclusive purpose of being used to develop the ROBe2 Protocol or for other

approved Partnership purposes.

         49.       The Funds were the property of the Partnership formed between the Plaintiffs and

Elmessiry.

         50.       The Funds were not to be used as compensation or for any other personal purposes

of Elmessiry and/or the Company.

         51.       Elmessiry and/or the Company, without authorization, transferred or paid $698,647

of the Funds to unknown individuals’ bank accounts and used it for improper and unapproved

personal purposes in defiance of the Partnership and the Plaintiffs’ rights.

         52.       The Defendants knew that they did not have proper authority and that their use of

the Funds was in contravention of, and inconsistent with, the Partnership’s rights of ownership.

         53.       Due to the Defendants’ conversion, the Plaintiffs and the Partnership have been

damaged.

         WHEREFORE, the Plaintiffs hereby move this Honorable Court for the following relief:



4859-0301-7257.1
                                   Page 9 of 13
       Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 9 of 13 PageID #: 9
                   A. That the Court award to the Plaintiffs direct damages against the Defendants in

                      the amount of $698,647 or such other amount as proven at trial; and

                   B. Such other and further relief as this Court determines is just and reasonable.

                                                COUNT III
                                                   FRAUD
                                              (as to Elmessiry)

         54.        The Plaintiffs repeat and reallege each and every allegation above as if fully set

forth herein.

         55.        Elmessiry falsely represented that he was working on the ROBe2 Protocol and

using the Funds to further the development of the ROBe2 Protocol, including to support the

investment opportunity and milestones created by the Memorandum of Understanding between

GREN, on behalf of the Partnership, and UPS.

         56.        Elmessiry also falsely represented that he had been providing his $800,000 portion

of the financial contributions toward the Partnership’s efforts and the ROBe2 Protocol into the

Company’s bank account.

         57.        Elmessiry knew that his representations were false at the time they were made and

intended to deceive the Plaintiffs into entering into the oral contract for the Partnership and

continuing to financially support the ROBe2 Protocol.

         58.         The Plaintiffs justifiably relied on the false representations from Elmessiry and,

consequently, entered into and continued to operate the Partnership and its efforts on the ROBe2

Protocol.

         59.        As a direct and proximate result of Elmessiry’s actions, the Plaintiffs and the

Partnership have been damaged.

         WHEREFORE, the Plaintiffs hereby move this Honorable Court for the following relief:

         A.         Direct damages in the amount of $1,448,647;
4859-0301-7257.1
                                  Page 10 of 13
     Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 10 of 13 PageID #: 10
         B.        Reasonable attorney’s fees and costs based upon the intentional fraud described

                   herein;

         C.        Punitive damages of $500,000 based upon Elmessiry’s intentional acts of fraud and

                   deception; and

         D.        Such other and further relief as this Court determines is just and reasonable.

                                            COUNT IV
                                    BREACH OF FIDUCIARY DUTY
                                          (as to Elmessiry)


         60.       The Plaintiffs repeat and reallege each and every allegation above as if fully set

forth herein.

         61.       As a member of the Partnership, Elmessiry owed fiduciary duties to the Plaintiffs

in all matters pertaining to the Partnership.

         62.       Elmessiry converted and/or improperly used the Partnership Funds without the

consent of the Plaintiffs. He also failed to provide his agreed upon financial contribution to the

Partnership.

         63.       Elmessiry also refuses to return Partnership property, including valuable

information and access codes that are essential to continuing the work of the Partnership on the

ROBe2 Protocol.

         64.       These actions benefited Elmessiry and are a breach of Elmessiry’s fiduciary duties

to the Plaintiffs.

         65.       Elmessiry’s actions have given him an advantage, divorced from the Partnership,

that has caused injury to the Plaintiffs and the Partnership.

         WHEREFORE, the Plaintiffs hereby move this Honorable Court for the following relief:

         A.        Direct damages in the amount of $1,500,000;


4859-0301-7257.1
                                  Page 11 of 13
     Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 11 of 13 PageID #: 11
         B.        Reasonable attorney’s fees and costs;

         C.        Pre-judgement interest; and

         66.       Such other and further relief as this Court determines is just and reasonable

                                            COUNT V
                                     PROMISSORY ESTOPPEL
                                         (as to Elmessiry)


         67.       The Plaintiffs repeat and reallege each and every allegation above as if fully set

forth herein.

         68.       Elmessiry promised to work on the ROBe2 Protocol and use the Funds to further

the development of the ROBe2 Protocol, including to support the investment opportunity and

milestones created by the Memorandum of Understanding between GREN, on behalf of the

Partnership, and UPS.

         69.       Elmessiry also promised to provide his $800,000 portion of the financial

contributions toward the Partnership’s efforts and the ROBe2 Protocol.

         70.       These promises were unambiguous and not unenforceably vague.

         71.       The Plaintiffs reasonably relied on Elmessiry’s promises and, as a result, wired the

Funds into the Company’s bank account and continued to invest their time, efforts, and funds into

the ROBe2 Protocol and Partnership.

         72.       The Plaintiffs also reasonably relied on Elmessiry’s promises to timely provide

tangible work product in order to meet the due diligence requirements under the Extended

Memorandum of Understanding.

         73.       As a direct and proximate result of Elmessiry’s actions, the Plaintiffs and the

Partnership have been damaged.

         WHEREFORE, the Plaintiffs hereby move this Honorable Court for the following relief:


4859-0301-7257.1
                                  Page 12 of 13
     Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 12 of 13 PageID #: 12
         A.        Direct damages in the amount of $1,448,647;

         B.        Reasonable attorney’s fees and costs; and

         C.        Such other and further relief as this Court determines is just and reasonable.

                                      JURY TRIAL DEMANDED

         The Plaintiffs demands a trial by jury for all issues so triable.

                                                 Respectfully submitted,

                                                 s/ Charles H. Williamson
                                                 Charles H. Williamson (TN BPR 018287)

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                                                 DLC Elite Lending Corporation; Heard Concrete
                                                 Construction Corp.; and Kevin Harrison




4859-0301-7257.1
                                  Page 13 of 13
     Case 3:22-cv-00555 Document 1 Filed 07/25/22 Page 13 of 13 PageID #: 13
